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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                         Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                            Defendant



              RESPONSE TO JULY 9, 2019 ORDER OF THE COURT

         The United States of America, by and through the U.S. Attorney for the

District of Columbia, files this response to the Court’s July 9, 2019 Minute Order

directing the government to explain how recently unsealed records in United States

v. Bijan Rafiekian, Criminal Action No. 18-457 (E.D. Va.) “will impact the

proceedings before this Court.” At this time the government cannot speculate on

how specifically the aforementioned records will impact the government’s

sentencing position in the proceedings before this Court. Although the records raise

numerous issues, the Rafiekian trial may still impact the government’s position.

For example, Rafiekian could call the defendant to testify at trial. As a result, the

government intends to reassess its sentencing position at the conclusion of that

trial.

         Additionally, the government previously had not opposed the defendant’s

request to delay scheduling a sentencing hearing in this matter. The basis for the

government’s position had been that on December 18, 2018, the defendant

requested a continuance “to allow him to complete [his] cooperation” in the
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Rafiekian case. See Dec. 18, 2018 Sentencing Hearing Transcript, at 30-31, 46-50.

Although the government will no longer call the defendant as a witness in that case,

because the defendant could be called to testify by Rafiekian, the government still

believes that the sentencing hearing should be scheduled to follow the completion of

that trial.




                                       Respectfully submitted,

                                       JESSIE K. LIU
                                       U.S. Attorney for the District of Columbia

                                       By: /s/

                                       Brandon L. Van Grack
                                       Special Assistant U.S. Attorney

                                       Deborah Curtis
                                       Jocelyn Ballantine
                                       Assistant United States Attorneys

                                       555 4th Street NW
                                       Washington, D.C. 20530




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